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                                                                     USDC SDNY
UNITED STATES DISTRICT COURT                                         DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                        ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                            DOC #: ____________________
                                                                     DATE FILED: 12/30/2020

               -against-
                                                                                20 Cr. 677 (AT)
CHOLO ABDI ABDULLAH,
                                                                                    ORDER
                                Defendant.
ANALISA TORRES, District Judge:

         An initial conference shall be held in this action on January 6, 2021, at 12:00 p.m. The
hearing shall proceed by teleconference. See In re Coronavirus/Covid-19 Pandemic, 20 Misc.
176, ECF No. 4 (S.D.N.Y. Dec. 18, 2020) (finding that the COVID-19 pandemic “make[s] it
increasingly necessary for judges in this District to conduct proceedings remotely, by
videoconference or other means . . . .”). At the time of the proceeding, the parties are directed to
call either (888) 398-2342 or (215) 861-0674, and enter access code 5598827.

        All participants should identify themselves every time they speak, spell any proper names
for the court reporter, and take care not to interrupt or speak over one another. Finally, all of
those accessing the conference are reminded that recording or rebroadcasting of the proceeding
is prohibited by law.

        As requested, defense counsel will be given an opportunity to speak with the Defendant
by telephone for fifteen minutes before the proceeding begins (i.e., at 11:45 a.m.); defense
counsel should make sure to answer the telephone number that was previously provided to
chambers at that time.

       SO ORDERED.

Dated: December 30, 2020
       New York, New York
